8:02-cr-00353-BCB-SMB       Doc # 648     Filed: 04/28/08   Page 1 of 5 - Page ID # 3668




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          CASE NO. 8:02CR353
                                             )
                    Plaintiff,               )
                                             )               MEMORANDUM
       vs.                                   )                AND ORDER
                                             )
ROY C. STRAUGHAN,                            )
                                             )
                    Defendant.               )

       This matter is before the Court for a decision on the merits of the Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

(Filing No. 619), filed by the defendant, Roy C. Straughan. The government filed an

Answer and a supporting brief. (Filing Nos. 638, 639.) The Defendant filed a Response.

(Filing No. 647.)

                                 FACTUAL BACKGROUND

       Straughan was found guilty of a one-count Indictment charging him with conspiracy

to distribute and possess with intent to distribute 50 grams or more of a mixture or

substance containing a detectable amount of cocaine base. (Filing No. 337.) The Eighth

Circuit Court of Appeals affirmed Straughan’s conviction and sentence. (Filing No. 556.)

Straughan timely filed his § 2255 motion. (Filing No. 619.) Upon initial review, the Court

ordered the government to answer the claim relating to the alleged ineffective assistance

of counsel because counsel did not file a petition for a writ of certiorari. The remaining

claims were summarily dismissed.1 (Filing No. 627.) In his Response, Straughan also




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       However, as noted below, Claim 18 was not addressed.
8:02-cr-00353-BCB-SMB         Doc # 648      Filed: 04/28/08     Page 2 of 5 - Page ID # 3669




argues that Bianchi did not file a petition for rehearing as Straughan expected Bianchi to

do.2

       Also in his Response, Straughan points out that the Court did not address one of

his eighteen claims in the initial review. In Claim 18, Straughan alleges that counsel was

ineffective for failing to argue for a minimal or minor role adjustment. The issue will be

addressed below on initial review.

                                        DISCUSSION

       In order to establish ineffective assistance of counsel, Straughan must satisfy both

prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that

counsel performed outside the wide range of reasonable professional assistance and

made errors so serious that counsel failed to function as the kind of counsel guaranteed

by the Sixth Amendment. Id. at 687-89. The prejudice prong requires a movant to

demonstrate that seriously deficient performance of counsel prejudiced the defense. Id.

at 687.

Filing of a Petition for Rehearing and a Petition for a Writ of Certiorari

       Straughan alleges that he and his attorney agreed that counsel would file a petition

for rehearing and a petition for a writ of certiorari but that neither one was never filed and

Straughan was not advised of this fact until after the deadline had expired. A. Michael



       2
        Attached to the Response is a copy of an Eighth Circuit order allowing Straughan
an extension of time until October 23, 2006, to file a petition for rehearing and rehearing
en banc. (Filing No. 647, Ex. B.) Also attached is a letter to Straughan from Bianchi in
which Bianchi explains his reasoning for not filing either a petition for rehearing or a petition
for a writ of certiorari. (Filing No. 647, Ex. C.)

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8:02-cr-00353-BCB-SMB          Doc # 648      Filed: 04/28/08     Page 3 of 5 - Page ID # 3670




Bianchi served as Straughan’s appointed counsel under the Criminal Justice Act. In

recently addressing the same issue, the Eighth Circuit explained that the right to trial

counsel is guaranteed under the Sixth Amendment, while the right to appellate counsel

falls under the Fifth Amendment Due Process Clause. Steele v. United States, 518 F.3d

986, 988 (8th Cir. 2008). Due process guarantees one a right to counsel for the initial

appeal, but not for purposes of filing a petition for a writ of certiorari. In addition, a right to

counsel does not exist for discretionary appeals. Ross v. Moffitt, 417 U.S. 600, 610 (1974);

Riley v. Lockhart, 726 F.2d 421, 423 (8th Cir. 1984). A petition for rehearing falls into the

category of discretionary appeals, and therefore Bianchi was not under an obligation to file

the petition for rehearing on Straughan’s behalf. Jackson v. Johnson, 217 F.3d 360, 364

(5th Cir. 2000); Bianchi v. Perry, 154 F.3d 1023, 1024 (9th Cir. 1998); United States v.

Coney, 120 F.3d 26, 28 (3d Cir. 1997); Lucien v. Welborn, 46 F.3d 1133, at *4 (7th Cir.

1995). Without a constitutional right to counsel at either the rehearing or certiorari stage,

one cannot be deprived of effective assistance of counsel. Id.

       Therefore, Straughan cannot prove either prong of the Strickland test, and the claim

that Bianchi was ineffective for failing to file a petition for rehearing and/or rehearing en

banc and a petition for writ of certiorari is denied.

Role Reduction

       This claim is addressed on initial review. Rule 4(b) of the Rules Governing Section

2255 Proceedings for the United States District Courts requires initial review of a § 2255

motion, and describes the initial review process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior


                                                3
8:02-cr-00353-BCB-SMB        Doc # 648     Filed: 04/28/08     Page 4 of 5 - Page ID # 3671




       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

       Straughan argues that his attorney was ineffective for not arguing that he should

have received a minimal or minor role reduction. Straughan‘s base offense level and

adjusted offense level were both 38. He was found to be a career offender, and therefore

his total offense level was 38.3 However, even if counsel had made the argument, because

Straughan was determined to be a career offender his offense level could not have been

below 37. The guideline range for level 37, applying criminal history category VI, 4 is 360

months to life. Straughan, sentenced with an offense level of 38 and in criminal history VI,

was also in a range of 360 months to life. Therefore, a minimal or minor role reduction

would not have resulted in a different guideline range. Straughan cannot meet either prong

of the Strickland test and it plainly appears that he is not entitled to relief on this claim.

Claim 18 in the § 2255 motion is summarily denied.




       3
        Because the offense level was 38, upon the finding that Straughan was a career
offender it remained at 38 rather than level 37 which would have applied had his offense
level been a level 37 or lower. U.S.S.G. § 4B1.1(b).
       4
        Criminal history category VI was applied in light of Straughan’s career offender
status. U.S.S.G. § 4B1.1(b).

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8:02-cr-00353-BCB-SMB      Doc # 648    Filed: 04/28/08    Page 5 of 5 - Page ID # 3672




                                   CONCLUSION

      For the reasons discussed, the § 2255 motion is denied.

      IT IS ORDERED:

      1.     The Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing No. 619) is

denied;

      2.     Specifically, Claim 18 in the § 2255 motion is summarily denied;

      3.     A separate Judgment will be filed; and

      4.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

      DATED this 28th day of April, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




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